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C{)/ .§>> UNITED sTATEs DISTRICT COURT
FOR THE
WESTERN DISTRICT OF TENNESSEE

ORDER OF PRODUCTION
NO= l:Ol-cr-lOOGl-Ol-T

 

USA v- Franklin Hale
AD Prosequendum
FOR= Re-Sentencing

TO: USM, Western District of TN
Warden, SCP Federal Prison Camp,
6696 Navy Road, Millington, TN 38053

YOU ARE HEREBY COMMANDED to have the person of FRANKLIN HALE, Inmate
# 17729-076, by you restrained of his/her liberty, as it is said, by Whatsoever names detained,
together with the day and cause of his being taken and detained, before the Honorable Jarnes D.
Todd, U. S. District Court Judge, for the Westem District of Tennessee, at the room of said Court,
in the City of Jackson, Tennessee, at 8:30 a.m. on the 14TH day of October, 2005, then and there
to do, submit to, and receive whatsoever the said lludge shall then and there determine in that behalf;
and have you then and there this Writ; further, to hold him in federal custody until disposition of this

case and to produce him for such other appearances as this court may direct.

J“‘\
ENTERED THIS 35 ’DAY oF QH_/L 20 05 .
@6:/1/)¢44 D- Q-O'M

JAMESRW'TGDI§
UNITE STATES DISTRICT IUDGE

This document entered on the docket sheet ln co tta§nce
with Ftute 55 and!or 32(b) FRCrP on

Notice of Distribution

This notice confirms a copy of the document docketed as number 225 in
case 1:0]-CR-10061 vvas distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

